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        FRONTIER AIRLINES, INC.
   11

   12                             UNITED STATES DISTRICT COURT
   13                        CENTRAL DISTRICT OF CALIFORNIA
   14   ANDREA RIDGELL, on behalf of                  Case No.: 2:18-CV-04916 PA (AFMx)
        herself and others similarly situated,
   15                                                DECLARATION OF HENRY
                     Plaintiff,                      VILLAREAL IN SUPPORT OF
   16                                                FRONTIER AIRLINES INC.'S
              v.                                     MOTION FOR SUMMARY
   17                                                JUDGMENT
        FRONTIER AIRLINES, INC. a
   18   Colorado corporation; AIRBUS                 Date: June 17, 2019
        S.A.S., a foreign corporation doing          Time: 1:30 p.m.
   19   business in the State of California;         Place: Courtroom of the Honorable Percy
        AIRBUS GROUP HQ, INC., a                            Anderson
   20   corporation doing business in the State
        of California,
   21
                     Defendants.
   22

   23         I, Henry Villareal, declare and state as follows:
   24         1.     I am employed by Frontier Airlines, Inc. ("Frontier") in the position of
   25   Inspector. I have been employed in this position 1 year, prior to being an Inspector
   26   my position was aircraft Maintenance Technician. On June 3, 2017 I was an
   27   aircraft Maintenance Technician.         In both position, I hold an FAA certificate,
   28   licensing me to inspect and repair FAA-certified aircraft operated by Frontier.
                                        —1
        DECLARATION OF HENRY VILLAREAL IN SUPPORT OF FRONTIER AIRLINES, INC.'S
                          MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-04916-PA-AFM Document 56-3 Filed 05/20/19 Page 2 of 6 Page ID #:636




    1          2.     I have personal knowledge of the facts contained in this declaration. I
    2    can competently testify to these facts if called as a witness in these proceedings.
    3          3.     This declaration is submitted in support of Frontier Airlines, Inc.'s
    4    motion for summary judgment, filed concurrently herewith.
    5          4.     In my old position as a Technician at Frontier, my job duties included
    6    performing routine maintenance checks and inspections of aircraft prior to takeoff,
    7    as well as responding to specific defect reports. I am trained in accordance with
    8    United States Federal Aviation Administration's ("FAA") approved maintenance
    9    protocols, and carry out my job duties in accordance with such protocols.
   10          5.     On June 3, 2017, I inspected the Frontier aircraft operating flight no.
   11    1630 at Phoenix Sky Harbor International Airport. I was advised that the aircraft
   12    diverted due to an unknown odor. In accordance with my training and applicable
   13    FAA regulations, I inspected the aircraft by running the engines, auxiliary power
   14    unit and air conditioning, and visually inspecting numerous components of the
   15    aircraft. I found no defects and no indication of any fuel leak or maintenance
   16    problem that might interfere with or negatively impact the cabin air system.
   17          6.     Attached hereto as Exhibit C is a true and correct copy of the aircraft
   1.8   flight log in which I noted the actions that I took and my findings with respect to
   19    the foregoing.
   20          I declare under penalty of perjury under the laws of the United States of
   21    America that the foregoing is true and correct. Executed on May 17, 2019, at
   22    Denver, Colorado.
   23

   24                                                  HENRY V LAREAL
                                                                     ti:td,
   25

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         DECLARATION OF HENRY VILLAREAL IN SUPPORT OF FRONTIER AIRLINES, INC.'S
                           MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-04916-PA-AFM Document 56-3 Filed 05/20/19 Page 3 of 6 Page ID #:637




                Exhibit C
                                         Case 2:18-cv-04916-PA-AFM Document 56-3 Filed 05/20/19 Page 4 of 6 Page ID #:638
                                                                                                                                                                       Form Number: 30740
FRONTIER                                                                           Aircraft Flight Log                                                                  Date: 06/17/09                          9005248
A/C NUMBER                   CAPTAIN’S NAME                                    EMP#:              MAINTENANCE CHECK COMPLIED WITH                                      STATION                            LOCAL MM/DD/YY
                                                                               v//6«/S
LOCAL MM/DD/YY               CAPTA^&^G^ATtJREn                                                    AIRWORTHINESS RELEASE SIGNATURE                                                                         EMP #:
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FLIGHT                         MI
STATION      J2£aZ
ON                              OHM*                                                                 OIL ADDED            QTS       STA                  INITIALS                QTS            STA                    INITIALS
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    1                                 PROOF OF SERVICE
    2                             STATE OF CALIFORNIA
                                COUNTY OF SAN FRANCISCO
    3

    4         I am a employed in the County of San Francisco, State of California, I am over
    5 the age of eighteen years, and not a party to the within action. My business address is

    6 101 Second Street, 24th Floor, San Francisco, California 94105.

    7         On May 20, 2019, I served the document(s) described as:
    8       DECLARATION OF HENRY VILLAREAL IN SUPPORT OF FRONTIER
                AIRLINES INC.’S MOTION FOR SUMMARY JUDGMENT
    9
              on the parties in this action addressed as follows:
   10
                                 SEE ATTACHED SERVICE LIST
   11
              in the following manner:
   12
             (BY FAX): by transmitting via facsimile the document(s) listed above to the
   13         fax number(s) set forth below, or as stated on the attached service list, on this
              date before 5:00 p.m.
   14
             (BY MAIL): as follows: I am “readily familiar” with the firm’s practice of
   15         collection and processing correspondence for mailing. Under that practice it
              would be deposited with the U.S. Postal Service on that same day with postage
   16         thereon fully prepaid at San Francisco, California in the ordinary course of
              business. I am aware that on motion of the party served, service is presumed
   17         invalid if postal cancellation date or postage meter date is more than one day
              after the date of deposit for mailing in affidavit.
   18        (BY OVERNIGHT DELIVERY): I caused such envelope(s) to be delivered
              to an overnight delivery carrier with delivery fees provided for, addressed to
   19         the person(s) on whom it is to be served.
   20        (BY PERSONAL SERVICE): I caused such envelope(s) to be delivered by
              hand this date to the offices of the addressee(s).
   21        (BY CM/ECF): by electronic filing system with the clerk of the Court which
              will send a Notice of Electronic Filing to all parties with an e-mail address of
   22         record, who have filed a Notice of Consent to Electronic Service in this action:
   23
              I declare I am employed in the office of a member of the bar of this court at
   24
        whose direction the service was made.
   25
              Executed on May 20, 2019, at San Francisco, California.
   26

   27
                                                      Sonja L. Gray
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        DECLARATION OF HENRY VILLAREAL IN SUPPORT OF FRONTIER AIRLINES, INC.’S
                          MOTION FOR SUMMARY JUDGMENT
                                        Case 2:18-cv-04916-PA-AFM Document 56-3 Filed 05/20/19 Page 6 of 6 Page ID #:640


                                                     1                                  SERVICE LIST
                                                     2

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                                                    13           jalwill@kdrlawgroup.com
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                                                    14   Attorneys for Plaintiff
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                                                         DECLARATION OF HENRY VILLAREAL IN SUPPORT OF FRONTIER AIRLINES, INC.’S
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